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                                UNITED STATES DISTRICT COURT
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                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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        STATE OF WASHINGTON,                               CASE NO. 3:17-cv-05806-RJB
11
                                  Plaintiff,               ORDER DENYING GEO’S
12              v.                                         MOTION FOR
                                                           RECONSIDERATION OF ORDER
13      THE GEO GROUP, INC.,                               COMPELLING DISCOVERY OF
                                                           ITS CONFIDENTIAL FINANCIAL
14                                Defendant.               DOCUMENTS
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            THIS MATTER comes before the Court on Defendant the GEO Group, Inc.’s Motion for
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     Reconsideration of Order Compelling Discovery of its Confidential Financial Information. Dkt.
19
     142. The Court deems a Response by the Plaintiff the State of Washington unnecessary.
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     W.D.Wash. Local Court Rule 7(h).
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            GEO seeks partial reconsideration of the Court’s discovery order, which compelled GEO
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     to produce certain financial documents. Dkt. 133 at 9, 10. GEO argues that the Court erred,
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     because the financial documents are not relevant to the State’s Unjust Enrichment claim, but
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     ORDER DENYING GEO’S MOTION FOR RECONSIDERATION OF ORDER COMPELLING DISCOVERY
     OF ITS CONFIDENTIAL FINANCIAL DOCUMENTS - 1
              Case 3:17-cv-05806-RJB Document 144 Filed 10/17/18 Page 2 of 2



 1   even if they are, the Court should explain how or why it reached the opposite conclusion and

 2   should reconsider bifurcating merits and damages. Dkt. 142 at 2, 5-7. GEO also argues that “new

 3   information” indicates that the compelled financial information is not sufficiently protected,

 4   because, GEO alleges, the State recently failed to observe confidentiality terms of the existing

 5   Protective Order. Id. at 2-5.

 6          The motion should be denied. First, the Court reiterates that the financial documents it

 7   has compelled (Dkt. 133 at 9, 10) are discoverable. They fall within Rule 26(b), which limits

 8   discovery to matters that are “nonprivileged . . . relevant . . . and proportional to the needs of the

 9   case.” Fed. R. Civ. P. 26(b). To avoid making any findings on the merits of any claim

10   prematurely, further comment on their relevance would appear imprudent.

11          Second, if the State has violated terms of the Protective Order, enforcing it by means of a

12   motion for reconsideration would be improper, particularly where there is no indication that the

13   parties have conferred about the issue. Further, if the existing Protective Order is insufficient, the

14   parties should negotiate amendments thereto, and if they cannot agree, to file a motion.

15          GEO’s Motion for Reconsideration of Order Compelling Discovery of its Confidential

16   Financial Information (Dkt. 142) is DENIED.

17          IT IS SO ORDERED.

18          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

19   to any party appearing pro se at said party’s last known address.

20          Dated this 17th day of October, 2018.

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                                            A
                                            ROBERT J. BRYAN
                                            United States District Judge
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     ORDER DENYING GEO’S MOTION FOR RECONSIDERATION OF ORDER COMPELLING DISCOVERY
     OF ITS CONFIDENTIAL FINANCIAL DOCUMENTS - 2
